             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
           CRIMINAL CASE NO. 1:08-cr-00128-MR-DLH-3



UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                   ORDER
                                )
                                )
TERRANCE DEANDREW BACKUS, )
                                )
                   Defendant.   )
_______________________________ )


     THIS MATTER is before the Court on the Defendant’s “Motion for

Relief Pursuant to Rule 59(e)” [Doc. 697], which the Court construes as a

motion for reconsideration.

     The Defendant seeks reconsideration of the Court’s January 19, 2016

Order denying the Defendant a reduction of his sentence pursuant to 18

U.S.C. § 3582. [Doc. 694]. The Court is without authority to reconsider the

Order denying the Defendant relief under § 3582. See United States v.

Goodwyn, 596 F.3d 233, 236 (4th Cir. Cir. 2010). Even if the Court had such

authority, the Court finds no basis in law to reconsider its prior Order.

Accordingly, the Defendant’s motion for reconsideration is denied.



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     IT IS, THEREFORE, ORDERED that the Defendant’s “Motion for

Relief Pursuant to Rule 59(e)” [Doc. 697], which the Court construes as a

motion for reconsideration, is DENIED.

     IT IS SO ORDERED.
                               Signed: February 12, 2016




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